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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


ADAM DAVID BODENBACH,                     )     CASE NO. 1:23-cv-00303-CWD
                                          )
              Petitioner,                 )
                                          )
vs.                                       )      BRIEF IN SUPPORT OF
                                          )      RESPONDENT’S MOTION FOR
RANDY VALLEY,                             )      PARTIAL SUMMARY DISMISSAL
                                          )
           Respondent.                    )
__________________________________        )

       COMES NOW, Respondent, Randy Valley (“state”), by and through his attorney, Mark

W. Olson, Deputy Attorney General, Capital Litigation Unit, and hereby submits this brief in

support of the Respondent’s Motion for Partial Summary Dismissal of Bodenbach’s federal

habeas petition.




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                                        BACKGROUND

       In its 2022 unpublished opinion affirming the state district court’s summary dismissal of

Bodenbach’s post-conviction petition, the Idaho Court of Appeals set forth the underlying facts

and jury trial proceeding as follows:

               In January 2017, Bodenbach shot and killed Ryan Banks. The State
       charged Bodenbach with first degree murder, the commission of a crime with a
       firearm, and possession of cocaine. The following evidence was elicited during
       the jury trial.

              The night began with Bodenbach and a friend, Kimsey, injecting cocaine
       between 8:00 p.m. and 10:00 p.m. Eventually Banks joined them to hang out.
       Bodenbach and Kimsey began to argue about Bodenbach borrowing Kimsey’s
       car. The argument escalated with Kimsey pushing Bodenbach; Banks intervened
       by pushing Bodenbach backwards into Bodenbach’s room and pinning him on his
       bed. Bodenbach testified that Banks’ hands were around his throat and choking
       him. Kimsey pulled Banks off Bodenbach, and Kimsey and Banks walked to
       Banks’ apartment. Kimsey stayed with Banks for a while and then went back to
       check on Bodenbach. Kimsey found Bodenbach in his room tearing his room
       apart by flipping the mattress and throwing clothes around while trying to find his
       handgun. Bodenbach accused Banks of stealing his handgun. Kimsey returned to
       Banks’ apartment, giving Bodenbach time to calm down. Bodenbach eventually
       found his handgun in his bedroom. Bodenbach testified he was worried Banks
       may harm Kimsey so he walked to Banks’ apartment with his handgun to check
       on Kimsey.

              Here Kimsey’s and Bodenbach’s stories diverge. Bodenbach testified he
       knocked on Banks’ door and announced himself as police; Bodenbach announced
       police because he was concerned how Banks may react. Bodenbach testified his
       handgun was in his jacket pocket at this time. Kimsey testified he did not hear a
       knock at the door; instead, Kimsey and Banks began to leave the apartment to
       smoke when Banks paused at the front door. Kimsey walked through the door
       and saw Bodenbach pointing his handgun in their direction. Kimsey testified he
       heard Bodenbach say, “You thought I was fucking kidding. You think I’m a
       fucking punk.”

               Banks said nothing but lunged towards Bodenbach. Bodenbach testified
       that Banks pulled a knife out of his waistband prior to lunging toward Bodenbach.
       Banks pushed Bodenbach into a pillar. From his angle, Kimsey could not see the
       front of Banks or Bodenbach’s handgun. Bodenbach claimed Banks had the knife
       about six inches away from his torso when he pulled his handgun out and pulled
       the trigger. Bodenbach shot Banks shortly after midnight.

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             Kimsey testified he did not see a knife on Banks at any time that night.
       However, during his interview with law enforcement the night of Banks’ death,
       Kimsey reported Banks had been carrying a knife before he was shot.

               Immediately after the shooting, Bodenbach went back to his apartment,
       called 911, and reported he shot someone. Bodenbach placed his handgun on a
       table in his apartment and then purportedly took four milligrams of Xanax to calm
       down.

               The Boise Police Department responded to the scene.             Officers
       encountered Bodenbach talking on the phone and holding a knife, which he later
       claimed he found on the ground near where he shot Banks. Bodenbach was
       arrested and subsequently transported to the hospital due to complaints of neck
       and back pain. Around 2:00 a.m., Boise Police Detective Pietrzak interviewed
       Bodenbach at the hospital. Bodenbach later alleged he did not remember being
       interrogated by Detective Pietrzak.

               In response to Bodenbach’s testimony that he consumed cocaine and
       Xanax, the State called expert witness Dr. Gary Dawson. Dr. Dawson consults in
       pharmacology and the subdiscipline toxicology. Dr. Dawson testified to the
       effects of cocaine and opined that cocaine provides an instantaneous high that
       lasts a relatively short period--typically an hour or less with an hour and a half
       being the maximum. Dr. Dawson then testified about Xanax, dosage, and
       common effects. Dr. Dawson opined that four milligrams is a huge dose for
       someone who does not regularly take Xanax and that he would expect to see that
       person become unresponsive and sedated for possibly twelve to fourteen hours.
       Based upon his training and experience, and the accounts from eyewitnesses, Dr.
       Dawson did not believe Bodenbach was under the influence of Xanax after the
       shooting with a reasonable degree of medical certainty.

               The jury found Bodenbach guilty on all counts.

(State’s lodging D-5, pp.1-3.)

       The judgment of conviction for first-degree murder, I.C. §§ 18-4001, 4002, 4003; felony

possession of a controlled substance (cocaine), I.C. § 37-2732(c); and the deadly weapon

sentencing enhancement, I.C. § 19-2520; was entered on November 17, 2017. (State’s lodging

A-2, pp.445-449.) The trial court imposed a unified life sentence with 25 years fixed for first-

degree murder, and a concurrent unified seven-year sentence with three years fixed for

possession of a controlled substance. (Id.)

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       On direct appeal, Bodenbach raised three claims: (1) the language of a jury instruction

utilized by the trial court providing that Bodenbach was not entitled to claim self-defense if was

he the “initial aggressor” was incorrect as a matter of law, and violated his constitutional due

process rights by lowering the state’s burden of proof; (2) the trial court erred by denying his

motion to suppress certain statements he made to law enforcement; and (3) the trial court abused

its discretion by imposing an excessive sentence. (State’s lodging B-1.) The Idaho Supreme

Court retained the case and affirmed the judgment of conviction. (State’s lodging B-4.)

       The Court first held that Bodenbach failed to preserve his appellate arguments regarding

the specific language utilized in the “initial aggressor” jury instruction, and whether the

instruction unconstitutionally reduced the state’s burden. (State’s lodging B-4, pp.5-6.) This

was because, the Court explained, Bodenbach objected to the instruction below only on the

ground of whether such an instruction was, in general, appropriate under Idaho law. (Id.)

Therefore, the Court considered Bodenbach’s instructional claim under the Idaho fundamental

error standard as then set forth in State v. Perry, 245 P.3d 961 (Idaho 2010). (State’s lodging B-

4, pp.6-12.)

       Applying this standard, the Court held that Bodenbach successfully demonstrated that a

portion of the trial court’s challenged instruction, that “the circumstances justifying a killing

must be such as to render it unavoidable,” was unlawful; and that it was clear from the record

that defense counsel’s failure to object to this portion of the instruction was not tactical – this

satisfied the first and second prongs of Perry. (State’s lodging B-4, pp.6-11.) However, the

Court held that Bodenbach failed to demonstrate that this error affected the outcome of the trial

proceedings, as required by the third prong of Perry.          (State’s lodging B-4, pp.11-12.)

Bodenbach therefore failed to satisfy the Perry fundamental standard. (Id.) The Court then held

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that Bodenbach failed to demonstrate trial court error with respect to his other two appellate

claims. (State’s lodging B-4, pp.12-18.)

       In September 2020, Bodenbach filed a post-conviction petition. (State’s lodging C-3,

pp.2-17.) In his petition, Bodenbach alleged his trial counsel was ineffective for: (1) failing to

object to the language of the trial counsel’s “initial aggressor” jury instruction; (2) failing to

request an instruction on “imperfect self-defense,” which, if established, Bodenbach asserts,

would mitigate murder to voluntary manslaughter where “the defendant acted on an

unreasonable but honest belief that self-defense was necessary”; (3) failing to consult with and

present the testimony of a toxicologist to rebut the state’s toxicologist and to explain the effect

certain drugs would have had on him; (4) failing to object to certain specified instances of

alleged prosecutorial misconduct during closing argument; (5) providing professionally

unreasonable advice about whether to take a plea offer made by the state; and (6) failing to

develop mitigating evidence and present it at the sentencing hearing. (State’s lodging C-3, pp.5-

16.) Bodenbach supported his claims with several exhibits, including an affidavit about his

communications with his trial counsel and his counsel’s representation in the underlying case;

and a declaration from a forensic toxicologist in support of post-conviction Claim 3, in which the

forensic toxicologist offered opinions on the trial evidence relevant to that claim. (State’s

lodging C-3, pp.19-52.) The state district court appointed counsel to represent Bodenbach in the

post-conviction proceeding. (State’s lodging C-2, pp.16-17.) Appointed counsel did not file an

amended post-conviction petition.

       After entering a lengthy notice of intent to dismiss which addressed the merits of each of

Bodenbach’s ineffective assistance of trial counsel claims, in which it concluded that Bodenbach

failed to allege facts establishing a genuine issue of material fact with respect to any of these

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claims (State’s lodging C-2, pp.52-75), the state district court summarily dismissed Bodenbach’s

petition (State’s lodging C-2, pp.79-81).

       Bodenbach, through counsel, appealed from the state district court’s summary dismissal

order. (State’s lodging D-2.)     However, Bodenbach challenged the district court’s summary

dismissal of only one of his post-conviction claims – that trial counsel was ineffective for failing

to retain an expert toxicologist to refute the state’s expert testimony. (Id.) In an unpublished

opinion, the Idaho Court of Appeals affirmed the state district court’s summary dismissal of

Bodenbach’s petition after concluding that the state district court did not err in dismissing the

toxicologist claim.   (State’s lodging D-5.)     The Idaho Supreme Court denied Bodenbach’s

petition for review. (State’s lodgings D-8; D-9; D-10.)

       In June 2023, Bodenbach, through counsel, filed a habeas petition in federal district

court, commencing this proceeding. (Dkt. 1.) Bodenbach’s petition raises the following five

claims: (1) the trial court’s “initial aggressor” jury instruction violated his constitutional due

process rights by lessening the state’s burden of proof; and that trial counsel was ineffective for:

(2) failing to object with appropriate specificity to the “initial aggressor” instruction; (3) failing

to request a jury instruction on “imperfect self-defense”; (4) failing to consult a toxicologist or

pharmacologist to rebut the state’s expert testimony; and (5) failing to develop and present

mitigating mental health evidence at sentencing. (Dkt. 1, pp.9-21.)

       In its Initial Review Order, this Court ordered the state to file an Answer or Pre-Answer

motion. (Dkt. 8, p.3). In its motion for partial summary dismissal and this brief in support of

that motion, the state asserts that Claims 2, 3, and 5 in Bodenbach’s habeas petition are

procedurally defaulted and must be dismissed because Bodenbach failed to fairly present them to




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the Idaho Supreme Court, and the time to do so has now expired.                     Approximately

contemporaneously with this filing, the state lodges relevant state court records. (Dkt. 10.)

                                          ARGUMENT

A.     Standard Of Review

       Rule 4 of the Rules Governing Section 2254 Cases provides that an answer shall be filed

unless it appears from the face of the petition that relief is unavailable. The rule permits a

response other than an answer. White v. Lewis, 874 F.2d 599, 602 (9th Cir. 1989). Motions to

dismiss in response to petitions for habeas corpus relief are common and accepted. Id. at 603

(citing Murray v. Carrier, 477 U.S. 478, 483 (1986)). Rule 4 of the Rules Governing Section

2254 Cases “‘explicitly allows a district court to dismiss summarily the petition on the merits

when no claim for relief is stated.’” O’Bremski v. Maass, 915 F.2d 418, 420 (9th Cir. 1990)

(quoting Gutierrez v. Griggs, 695 F.2d 1195, 1198 (9th Cir. 1983)).

       A court may look beyond the complaint to matters of public record and doing so does not

convert a motion for summary dismissal into a motion for summary judgment. Mack v. South

Bay Beer Distributors, 798 F.2d 1279, 1281 (9th Cir. 1986).

B.     Claims 2, 3, and 5 in Bodenbach’s Habeas Petition Are Procedurally Defaulted And Must
       Be Dismissed

       1.      Legal Framework For Exhaustion

       Federal courts are barred from granting habeas relief unless the petitioner exhausts the

remedies available in state court. 28 U.S.C. § 2254(b). The exhaustion requirement “reflects a

policy of federal-state comity,” Picard v. Connor, 404 U.S. 270, 275 (1971), which requires a

petitioner to “‘fairly presen[t]’ federal claims to the state courts in order to give the State the

‘opportunity to pass upon and correct’ alleged violations of its prisoners’ federal rights.” Duncan

v. Henry, 513 U.S. 364, 365 (1995) (quoting Picard, 404 U.S. at 275). Exhaustion requires more
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than mere notice; rather, it must “be serious and meaningful.” Keeney v. Tamayo-Reyes, 504

U.S. 1, 10 (1992). The exhaustion requirement is not satisfied unless the claim has been fairly

presented to the state’s highest court. O’Sullivan v. Boerckel, 526 U.S. 838, 845 (1999).

       “Fair presentation” requires a petitioner to describe both the operative facts and legal

theories upon which the federal claim is premised. Gray v. Netherland, 518 U.S. 152, 162-163

(1996); Shumway v. Payne, 223 F.3d 982, 987-988 (9th Cir. 2000). “Fair presentation” means

more than a “mere similarity of claims” between the issues raised before the state’s highest court

and those raised in the federal petition. Duncan, 513 U.S. at 366; Shumway, 223 F.3d at 988. As

discussed in Gray, 518 U.S. at 163, “it is not enough to make a general appeal to a constitutional

guarantee as broad as due process to present the ‘substance’ of such a claim to a state court.”

Moreover, a petitioner must make more than a cursory reference to the claim before the state

court or a “naked reference” to a constitutional provision. Shumway, 223 F.3d at 987. Rather,

the federal basis of the claim before the state court must be “explicit by citing federal law or the

decisions of federal courts even if the federal basis is ‘self evident.’” Lyons v. Crawford, 232

F.3d 666, 668 (9th Cir. 2000), as amended, 247 F.3d 904 (9th Cir. 2001). Based upon Duncan, the

degree of explicitness is “rigorous.” Id. at 669.

       2.      Legal Framework Of State Procedural Bars

       A federal habeas petitioner has procedurally defaulted his claim if he could have raised

his constitutional claim in state court but failed and is now barred from doing so by a state court

rule. Tacho v. Martinez, 862 F.2d 1376, 1378 (9th Cir. 1988) (citing Murray, 477 U.S. at 485, and

Wainwright v. Sykes, 433 U.S. 72, 86-87 (1977)). If a petitioner fails to seek direct review from

a state’s highest court, and the time has passed for such review, a procedural default exists even

if review was afforded in the state’s lower courts. O’Sullivan, 526 U.S. at 848; Harmon v. Ryan,

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959 F.2d 1457, 1461 (9th Cir. 1992).

       3.      Claims 2, 3, and 5 From Bodenbach’s Federal Habeas Petition Are Procedurally
               Defaulted

       Bodenbach failed to fairly present Claims 2, 3, and 5 to the Idaho Supreme Court;

because the time to do so has now expired (see I.A.R. 14), these claims are procedurally

defaulted and must be dismissed.

       Claims 2, 3, and 5 each assert ineffective assistance of trial counsel, specifically, that trial

counsel was ineffective for: (2) failing to object with appropriate specificity to the trial court’s

“initial aggressor” jury instruction; (3) failing to request a jury instruction on “imperfect self-

defense”; and (5) failing to develop and present mitigating mental health evidence at sentencing.

(Dkt. 1, pp.11-16, 20-21.) As noted above, Bodenbach raised each of these claims in his post-

conviction petition, and the state district court addressed the merits of each of these claims in

summarily dismissing them. (State’s lodgings C-2, pp.58-62, 76; C-3, pp.5-9, 14-16.) However,

as also noted above, Bodenbach did not raise any of these three claims in his subsequent post-

conviction appeal, and instead raised only a single, different ineffective assistance of trial

counsel claim (corresponding with Bodenbach’s Habeas Claim 4, his claim that his trial counsel

was ineffective for failing to utilize a toxicologist as an expert witness). (See State’s lodging D-

2.) Consequently, the Idaho Court of Appeals considered (and rejected) only this toxicologist

claim. (State’s lodging D-5.)

       Because Bodenbach failed to raise Claims 2, 3, and 5 to any Idaho appellate court, let

alone the Idaho Supreme Court, and the time to do so has now expired (see I.A.R. 14), these

claims are procedurally defaulted and must be dismissed unless Bodenbach can demonstrate

cause and prejudice or actual innocence.



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       4.      To Overcome Dismissal Due To Procedural Default, Bodenbach Must Show
               Cause And Prejudice Or A Miscarriage Of Justice

       When a procedural default bars litigation of a constitutional claim in state court, a state

prisoner may not obtain federal habeas relief unless the prisoner shows: (1) a valid cause for the

default and actual prejudice resulting from the alleged constitutional violation, or (2) that failure

to consider the claims will result in a miscarriage of justice, also known as “actual innocence.”

Coleman v. Thompson, 501 U.S. 722, 750 (1991); Murray, 477 U.S. at 496; Reed v. Ross, 468

U.S. 1, 16-19 (1984).

               a.       General Legal Standards Governing Cause And Prejudice

       “Cause” has been described as something external to the petitioner:

       [W]e think that the existence of cause for a procedural default must ordinarily
       turn on whether the prisoner can show that some objective factor external to the
       defense impeded counsel’s efforts to comply with the State’s procedural rule.

Coleman, 501 U.S. at 753 (quoting Murray, 477 U.S. at 488). A petitioner’s illiteracy, pro se

status and/or mental deficiencies have all been found not to be “external impediments preventing

counsel from constructing or raising the claim.” Hughes v. Idaho State Bd. of Corrections, 800

F.2d 905, 908-09 (9th Cir. 1986); Tacho v. Martinez, 862 F.2d 1376, 1381 (9th Cir. 1988).

       “Prejudice” requires a petitioner to show more than the possibility of prejudice. U.S. v.

Frady, 456 U.S. 152, 170 (1982). Rather, the petitioner must establish that any alleged error

worked to his substantial disadvantage, infecting the entire trial. Id. In Vansickel v. White, 166

F.3d 953, 958 (9th Cir. 1999), the court implied that the prejudice prong of Strickland, 466 U.S.

668, applies to the “prejudice” standard of procedural default. This standard requires Bodenbach

to demonstrate “a reasonable probability that, but for counsel’s unprofessional errors, the result

of the proceedings would have been different. A reasonable probability is a probability sufficient



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to undermine confidence in the outcome.” Vansickel, 166 F.3d at 958-59 (quoting Strickland,

466 U.S. at 694).

       The Ninth Circuit Court of Appeals has concluded that, prior to summary dismissal, a pro

se petitioner must be given an opportunity to establish cause and prejudice such as to excuse a

procedural default. See Boyd v. Thompson, 147 F.3d 1124, 1128 (9th Cir. 1998). If, in his

response to the Respondent’s Motion for Partial Summary Dismissal, Bodenbach fails to

establish cause and prejudice excusing his procedural default, his procedurally defaulted claims

must be dismissed unless he demonstrates a fundamental miscarriage of justice.

       b.     General Legal Standards Governing Miscarriage Of Justice

       Application of the fundamental miscarriage of justice exception “makes clear that a claim

of ‘actual innocence’ is not itself a constitutional claim, but instead a gateway through which a

habeas petitioner must pass in order to have his otherwise barred constitutional claim considered

on the merits.” Herrera v. Collins, 506 U.S. 390, 404 (1993). To establish a miscarriage of

justice by virtue of actual innocence, a petitioner must demonstrate that, “in light of all the

evidence,” “it is more likely than not that no reasonable juror would have convicted him.”

Schlup v. Delo, 513 U.S. 298, 327 and 328 (1995). “Actual innocence” means factual innocence,

not mere legal insufficiency. Sawyer v. Whitely, 505 U.S. 333, 339 (1992). If, in his response to

the Respondent’s Motion for Partial Summary Dismissal, Bodenbach fails to establish a

fundamental miscarriage of justice, his procedurally defaulted claims must be dismissed.

       c.     Martinez v. Ryan and Shinn v. Ramirez

       In Martinez v. Ryan, 566 U.S. 1, 4-18 (2012), the United States Supreme Court held that

habeas petitioners may attempt to establish cause and prejudice for the procedural default of

ineffective assistance of trial counsel claims where: (1) the state trial court did not appoint

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counsel in the initial-review collateral proceeding; or (2) appointed collateral proceeding counsel

is ineffective in raising, or failing to raise, an ineffective assistance of trial counsel claim.

        In Trevino v. Thaler, 569 U.S. 413, 423 (2013), the United Supreme Court described and

clarified the Martinez cause and prejudice test as consisting of four necessary prongs: (1) the

underlying claim of ineffective assistance of counsel must be a “substantial” claim (determining

whether an IAC claim is substantial requires a federal court to examine the claim under

Strickland, 466 U.S. 668)); (2) the “cause” for the procedural default consists of there being “no

counsel” or “ineffective” counsel during the state collateral review proceeding; (3) the state

collateral review proceeding was the “initial” collateral review proceeding where the ineffective

assistance of trial counsel claim could have been brought; and (4) state law requires that an

ineffective assistance of counsel claim be raised in an initial-review collateral proceeding, or by

“design and operation” such claims must be raised that way, rather than on direct appeal.

        However, in May 2022, in Shinn v. Ramirez, 596 U.S. 366 (2022), the United Supreme

Court significantly limited the availability of Martinez as a means by which to overcome

procedural default in federal habeas proceedings. In that case, the Court held that “under [28] §

2254(e)(2), a federal habeas court may not conduct an evidentiary hearing or otherwise consider

evidence beyond the state-court record based on ineffective assistance of state postconviction

counsel,” including new evidence both to determine whether an underlying claim is

“substantial,” and “to assess cause and prejudice under Martinez,” because “a Martinez hearing

when the prisoner cannot satisfy AEDPA’s demanding standards in § 2254(e)(2) would prolong

federal habeas proceeding with no purpose,” and “a federal habeas court may never needlessly

prolong a habeas case particularly given the essential need to promote the finality of state

convictions,” id. at 382-390 (emphasis in original, quotes and citations omitted). The only

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exceptions to this bar to consideration of new evidence are if a claim relies on a new and

retroactively applied rule of constitutional law; or when the claim relies on new facts that could

not have been previously discovered with due diligence by the petitioner and his or her attorney.

28 U.S.C. § 2254(e)(2)(A); see also Ramirez, 596 U.S. at 381-383.

       In his habeas petition, Bodenbach does not expressly cite Martinez, or attempt to satisfy

the four Martinez prongs as set forth above (see Dkt. 1); however, it appears from the petition

that Bodenbach may attempt to make such an argument in his response to the state’s motion for

summary dismissal. The state therefore reserves the right to respond to any specific argument

from Bodenbach regarding why Martinez may excuse the procedural defaults of any of his

claims. However, the state submits that it is unlikely that Bodenbach can satisfy the Martinez

exception, as narrowed by Ramirez, with respect to any of his ineffective assistance of trial

counsel claims for several reasons.

        First, pursuant to Ramirez, Bodenbach is limited to the evidence in the state-court record

to attempt demonstrate cause and prejudice, and he did not present sufficient evidence to

overcome a summary dismissal motion in state district court. Second, Claims 2, 3, and 5 were

raised in Bodenbach’s post-conviction proceeding, but were then not raised by his post-

conviction appellate counsel in his post-conviction appeal; they are therefore not subject to the

Martinez exception. The Martinez exception expressly does not concern attorney errors in types

of proceedings other than the initial collateral proceeding. Martinez, 566 U.S. at 16. Therefore,

any alleged ineffectiveness with respect to post-conviction appellate counsel, and counsel’s

decisions regarding which claims to raise on appeal, cannot satisfy the third prong of Martinez.

See Dixon v. Yordy, 2017 WL 1097174, *10 (D. Idaho 2017) (unpublished) (“any [habeas]

claims that were included in the original petition but were not included in the post-conviction

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appeal are defaulted as well - likely because of appellate counsel’s strategic decision to not

include them in the appeal, rather than any fault of the attorney who handled the post-conviction

matter in the state district court.” (emphasis in original).) Third, it is unlikely Bodenbach will be

able to show that the procedurally defaulted ineffective assistance of trial counsel claims in his

habeas petition are “substantial,” as required by Martinez. And Fourth, it is unlikely Bodenbach

will be able to show that his post-conviction counsel’s decision to proceed on Bodenbach’s pro

se post-conviction petition constituted deficient performance (as opposed to constituting a

strategic decision), in light of the presumption of effective assistance pursuant to Strickland, and

the thorough manner in which Bodenbach was able to raise and support his claims in his petition.


                                         CONCLUSION

       The state respectfully requests this Court grant the state’s motion for partial summary

dismissal and to dismiss, with prejudice, Claims 2, 3, and 5 in Bodenbach’s Petition for Writ of

Habeas Corpus; and to order the state to file an Answer in response to the remaining claims –

Claims 1 and 4.

       DATED this 5th day of February, 2024.

                                              /s/
                                              MARK W. OLSON
                                              Deputy Attorney General
                                              Capital Litigation Unit




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on or about the 5th day of February, 2024, I caused to be
serviced a true and correct copy of the foregoing document by the method indicated below,
postage prepaid where applicable, and addressed to the following:

   Craig H. Durham                                   U.S. Mail
   Ferguson Durham, PLLC                             Hand Delivery
   223 N. 6th Street, Suite 325                      Overnight Mail
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BRIEF IN SUPPORT OF RESPONDENT’S MOTION FOR PARTIAL SUMMARY DISMISSAL -
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